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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

              v.
                                                      Criminal No. 18-CR-32-2
 CONCORD MANAGEMENT
 AND CONSULTING LLC,

                                 Defendant.

       SUPPLEMENTAL FILING IN SUPPORT OF GOVERNMENT’S MOTION
           FOR AN ORDER TO HOLD CONCORD IN CIVIL CONTEMPT

       After repeatedly declining even to assert that it complied with this Court’s early-return trial

subpoenas, refusing to send a corporate representative when ordered by the Court, and then

claiming (through counsel) that an ex parte submission is necessary, Concord now submits a short

declaration by Yevgeniy Prigozhin, a thrice sanctioned individual and an indicted defendant who

has refused to appear in this case.      Rather than meaningfully justify Concord’s surprising

production, the declaration attempts to distance Prigozhin from Concord’s operations during the

relevant time period, represents that Concord maintains few, if any, electronic files and

conveniently adopted a broad email destruction policy around the same time as the start of the

charged conspiracy, and claims that Concord has no further responsive records.

       The declaration is not credible and includes a number of factual representations that the

government has reason to believe are false or misleading or that are otherwise implausible. These

include representations about Prigozhin’s role in the company and Concord’s handling of

information technology issues. It is also implausible that Prigozhin, an oligarch who runs several

multi-million dollar companies, is positioned to describe Concord’s actual record retention

practices. Even taken on its own terms, the declaration does not seriously engage with various
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ways that the requested records may be in Concord’s control—even if not in its possession—or

even describe a reasonable search process given the subject matter at issue. The declaration also

conspicuously makes no mention of why, until now, Concord would not even assert it had

complied and what, if any, information Concord believed would raise issues of attorney-client

privilege that could justify an ex parte submission. Prigozhin’s declaration does not come close

to rebutting the significant evidence of Concord’s noncompliance with the Court’s orders, and it

only underscores the necessity of Concord’s bringing a corporate representative (or

representatives) to a hearing on this matter. The Court should hold Concord in civil contempt and

impose a per diem sanction until it purges contempt by sending a corporate representative or

representatives to adequately answer the Court’s concerns, or until it otherwise comes into

compliance by producing the sought after records.

                                         DISCUSSION

       A. As a threshold matter, the Court should be skeptical of Yevgeniy Prigozhin as a

declarant. Not only has the United States sanctioned Prigozhin three times 1 but Prigozhin is a

charged defendant in this case with a personal and non-pecuniary interest in preventing the

government from obtaining the records ordered to be produced. Cf. United States v. Goldstein,

105 F.2d 150, 152 (2d Cir. 1939) (relied on in McPhaul v. United States, 364 U.S. 372, 378 (1960))

(relying on, inter alia, an “obvious motive” to conceal responsive documents). As the Court well

knows, evidence collected by the government also shows Prigozhin’s oversight and strategy role

on foreign disinformation efforts.




       1
               See       https://www.treasury.gov/press-center/press-releases/Pages/jl0688.aspx;
https://home.treasury.gov/news/press-releases/sm0312;     https://home.treasury.gov/news/press-
releases/sm787.
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       It is also surprising, to say the least, that Prigozhin could really attest to Concord’s record

keeping practices. Prigozhin is an extraordinarily wealthy owner and operator of several multi-

million dollar companies engaged in a wide range of global business activities, including the

provision of services to the Russian military. It is difficult to fathom that he has personal

knowledge of Concord’s day-to-day records practices including, for example, whether employees

regularly destroyed records as assertedly required by company policy. It is also difficult to believe

that Prigozhin is the Concord officer or employee best positioned to address those issues.

       Concord’s selection of Prigozhin as the declarant should give rise to additional concerns.

Given his substantial wealth and ties to the Russian government, Prigozhin is particularly well

suited to evade any consequence of making false or misleading statements to the Court in a written

declaration. At the same time, because Prigozhin is a sanctioned individual and under indictment,

expediting a visa for him would be particularly complicated. It is therefore notably convenient

that after Concord sent no representative when ordered to do so by the Court, did not contact the

government for assistance in obtaining a visa, and still refused to say it would send a representative

or identify who it might send, Concord then submitted a declaration signed by Prigozhin.

       B.   Prigozhin’s declaration makes a number of representations that are implausible,

misleading, or likely false. Even with just a few hours to review it, the government has identified

a number of such claims. Not only do these problems undermine several linchpins of the

declaration, but they also cast great doubt on other claims contained therein.

       1. Prigozhin appears to suggest that while he is the only person who can presently speak

to Concord’s record keeping practices and its document search, his connection to Concord during

the relevant time period is more tenuous. He thus states that he was “neither Concord’s General

Director, nor its officer nor its employee” during the relevant four year period and “acquired” his



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“stake” in Concord in 2017. Decl. ¶ 2; see id. ¶ 11. Prigozhin then states that “Concord never had

any calendar entries for me during the period before I became General Director” and that “Concord

did not and does not have access to the previous General Director’s telephone from which the

prosecution claims to have obtained photographs of calendars and other documents.” Decl. ¶ 8;

see id. ¶ 11.

        As even the records produced by Concord make clear, this is a grossly misleading

description of Prigozhin’s ties to Concord. For example, notwithstanding Prigozhin’s statement

that he “acquired this stake in Concord on February 28, 2017” (Decl. ¶ 2), Prigozhin founded

Concord more than 20 years ago, and a 1997 founding document identifies him as a 50% owner

and the Secretary of the Board of Directors. CMC_1. 2 Years later, in 2006, Prigozhin signed an

order appointing a new General Director. CMC_26. And the only company bylaws produced in

response to the government’s subpoena (dated May 2018) are signed by Prigozhin. CMC_5.

        Although it unclear exactly when and how Prigozhin’s 50% ownership stake changed, a

2016 document appointing a new general director—before Prigozhin says he “acquired” his

“stake” in Concord in 2017 (Decl. ¶ 2)—was signed by Violeta Prigozhin, CMC_28, who is Mr.

Prigozhin’s elderly mother. Prigozhin’s mother, in turn, appointed Anastasia Sautina as General

Director, id.—the person who Prigozhin describes as “the previous General Director.” Decl. ¶ 8.

As the Court knows,                                       . In litigation over these subpoenas, the

government explained, among other things, that




        2
          Citations of the form “CMC” adhere to the Bates numbering system used in Concord’s
limited response to the first trial subpoena.
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Russian government and military. Even if regulators have not expressly “imposed any rules” about

records retention, id., it would be surprising if, as a matter of practice, companies did not retain

records relevant to audits by tax authorities or military contracting officers. This representation

appears to be a carefully crafted phrase that may conceal further pertinent information.

       Third, the declaration states that “[a]s is common practice for many Russian organizations,

Concord does not as a rule keep electronic copies of business documents” and “does not use

electronic back-up systems.” Decl. ¶ 7. As the Court knows, the government recovered budgets

and similar spreadsheets related to the alleged conspiracy and recovered emails that discuss the

budget process and vouchers. Even if most of these documents were created by the Internet

Research Agency rather than Concord, it is surprising that they would have such vastly different

practices and that Concord would regularly email business documents around but never keep

copies of those documents. More broadly, it is surprising that Concord would not keep electronic

copies of contracts, correspondence, or other business documents. In fact, as the Court knows, it

appears that Concord registered and maintained multiple dedicated IP addresses during the

relevant time period. That practice is in some tension with Prigozhin’s description of an analog

company that stores few documents electronically and backs up nothing.

       Fourth, the declaration states (Decl. ¶ 7) that on April 17, 2014, Concord adopted a regular

policy of destroying emails older than three months old. Initially, this date aligns with the

beginning of the time period at issue in the subpoenas (January 2014) and with the U.S.-focused

activity alleged in the Superseding Indictment. See, e.g., Doc. 247 ¶ 10(d) (alleging that the

Internet Research Agency formed a U.S.-focused department in April 2014). It therefore provides

a convenient explanation for having no emails from the relevant time period. But it is also

somewhat surprising that employees of Concord actually followed that policy. It would be difficult



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for any business to function without access to emails going back more than three months. Concord,

in particular, appears to have had a highly articulated structure for budgeting and monitoring of

expenses,                                            as discussed in the prior subpoena briefing. It is

hard to imagine how those employees carried out their day-to-day functions if they, in fact, adhered

to the formal document retention policy purportedly established in 2014.

       C. In addition to the many reasons to doubt what Prigozhin’s declaration does say, it is

also noteworthy what the declaration does not say. In the single paragraph addressing search

methodology, the declaration only minimally explains how Prigozhin, who says he conducted

searches personally (Decl. ¶ 8), actually searched for records. Those few descriptions of how the

search occurred only confirm that Concord has made minimal efforts to locate responsive records.

The declaration suggests that in light of Concord’s asserted policies of keeping few if any

electronic files, Prigozhin conducted virtually no electronic searches. The declaration describes

no efforts to identify whether employees, in fact, maintain electronic files or even whether it is

well known and accepted that employees do so.

       With respect to payment records, the declaration states only that Prigozhin directed the

“Chief Accountant” to search for references to the Internet Research Agency or certain associated

corporate shells that the government has identified. Id. But that is not the scope of the final

subpoena category related to payments. The subpoena calls for: “records reflecting any payments

from Concord Management and Consulting LLC to fund the activities of the Internet Research

Agency, made directly or through another organization.” As proffered during the subpoena

litigation, significant evidence shows that Concord was making such payments. Although perhaps

Concord did not list these corporate shells on payment vouchers, other steps could be taken to

search for responsive payment records, such as reviewing all payments in the relevant time period,



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searching for references to the categories of activity described in the emails and budgets that the

government has disclosed to Concord, or interviewing employees who may be familiar with

Concord’s payment activity and can provide further guidance. Concord’s search method would

likely be inadequate in the best of circumstances. But here, where Concord is firmly in control of

the pertinent information, choosing minimal search terms and then declaring an absence of

incriminating records is not an adequate response to the Court’s orders.

       Prigozhin’s declaration is also almost primarily focused on records in Concord’s

possession, with little discussion of what may nonetheless be in Concord’s control. For example,

the declaration states that it could not recover records of leased IP addresses from two internet

service providers. It does not address whether records held by Prigozhin or by other related

corporate entities are within Concord’s control. Nor does it address whether Concord may have

used other contractors over the years who may have retained responsive documents.

       Finally, the declaration is surprisingly silent on why Concord is just providing these

explanations now. Concord’s counsel previously refused to tell the government that Concord

complied. And even when the Court issued an order to show cause, Concord’s formal response,

apparently prepared in conjunction with Prigozhin himself, did not so much as assert that Concord

complied or engage with the many reasons to believe that Concord possesses, or at least controls,

additional records. This response is hard to square with the declaration that Concord now submits.

Perhaps even more anomalous, Concord’s response to that show cause order made passing

references to the Sixth Amendment and an ex parte presentation. At the subsequent hearing,

defense counsel made clear that he had certain relevant information that, for reasons explained,

could only be presented to the court ex parte. Nothing in Prigozhin’s declaration, however, seems

to square with defense counsel’s myriad references to privilege and the Sixth Amendment. If



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Concord was previously making bad faith assertions of privilege or unjustifiably seeking to shield

the very information presented in this declaration from government analysis, that is a further reason

to doubt Concord’s compliance. If, instead, Concord has additional relevant information but has

omitted it from this declaration, that too is a further reason to question Concord’s efforts at

compliance.

                                               ***

       In sum, Concord’s eleventh (or fourteenth) hour assertion that it complied with the two

trial subpoenas is grossly deficient. The declaration is replete with statements that range from the

improbable to the patently misleading. It does not seriously engage with the many reasons to

believe that Concord possesses additional records. And the representations it does make raise as

many questions as they answer.

                                         CONCLUSION

       For the foregoing reasons, the Court should hold Concord in civil contempt and impose a

per diem sanction until it purges contempt by sending a corporate representative or representatives

to adequately answer the Court’s concerns, or until it otherwise comes into compliance by

producing the sought after records.

                                      Respectfully submitted,


JOHN C. DEMERS                                                TIMOTHY J. SHEA
Assistant Attorney General for National Security              United States Attorney
                                                              D.C. Bar No. 437437

By: /s/ Heather Alpino                                        By: /s/ Adam Jed
Heather N. Alpino                                             Luke Jones (VA 75053)
U.S. Department of Justice                                    Peter Lallas (NY 4290623)
National Security Division                                    Adam Jed (NY 4978532)
950 Pennsylvania Ave. NW                                      555 Fourth Street NW
Washington, D.C. 20530                                        Washington, D.C. 20530
Telephone: (202) 514-2000                                     Telephone: (202) 252-7066

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